Case 2:19-CV-QNHIED SrATES DIDFRICMCOURT, CENFRADDISPRICr OF CAEIFORNIA Page ID #:19
CIVIL COVER SHEET

I. (a) PLAINTIFFS ( Check box if you are representing yourself | ) DEFENDANTS

 

( Check box if you are representing yourself | )

BRIANNA RIVERA, individually and on behalf of all others similarly situated, BRAINFM, INC., a Delaware corporation; and DOES 1 - 10, inclusive,

 

(b) County of Residence of First Listed Plaintiff Los Angeles
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

 

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Scott J. Ferrell, Pacific Trial Attorneys, 4100 Newport Place Drive, Suite 800, Newport
Beach, CA 92660

 

 

 

 

Il. BASIS OF JURISDICTION (Place an X in one box only.) Il. CITLZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
. PTF DEF ee PTF DEF
1. U.S. Government 3. Federal Question (U.S. Citizen of This State [x] 1 [-] 1. [ncorporated or Principal Place =f) 4 [] 4
Plaintiff Government Not a Party) of Business in this State
Citizen of Another State [—] 2 [] 2 Incorporated and Principal Place C15 x] 5
d h of Business in Another State
2. U.S. Government 4. Diversity (Indicate Citizenship |Citizen or Subject of a : .
. Foreign Nation 6 6
Defendant of Parties in Item III) Foreign Country O13 03 9 Dé
IV. ORIGIN (Place an X in one box only.) 6. Multi-
1. Original 2. Removed from O 3. Remanded from O 4, Reinstated or C 5. Transferred from Another CO "District
Proceeding State Court Appellate Court Reopened District (Specify) Litigation

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: [_] Yes No
CLASS ACTION under F.R.Cv.P. 23:

28 U.S.C. § 1332

[x]Yes [_]No

(Check "Yes" only if demanded in complaint.)

MONEY DEMANDED IN COMPLAINT: $ TBD
VI. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

 

Vil. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
[1] 375 False Claims Act [_] 110 Insurance [_] 240 Torts to Land gO 462 Naturalization Habeas Corpus: J 820 Copyrights
oO 400 State [1] 120 Marine [] 245 Tort Product PP [1 463 Alien Detainee (1) 830 Patent
Reapportionment Liability O 465 Other O 510 Motions to Vacate Ty] 840 Trademark
i i igrati i Sentence rademar!
[1 410 Antitrust [_] 130 Miller Act [] 290 All Other Real Immigration Actions
. Property TORTS L_] 530 General SOCIAL SECURITY
‘ 140 Negotiable
Ol ‘30 Barks and Barking CI instrument PERSONA RUURY PERSONAL PROPERTY |[_]| 535 Death Penalty [_] 861 HIA (1395ff)
O mere 150 Recovery of 370 Other Fraud Other:
Rates/Etc. Overpayment & |[] 310 Airplane O L] 862 Black Lung (923)
L_] 460 Deportation Enforcement of 315 Airplane (1) 371 Truth in Lending |[7] 540 Mandamus/Other ||] 863 DIWC/DIWW (405 (g))
470 Racketeer Influ- udgment U1 Product Liability [] 380 Other Personal |[_] 550 Civil Rights (] 864 SSID Title XVI
O enced & Corrupt Org. |[_] 151 Medicare Act oO 320 Assault, Libel & Property Damage oO 555 Prison Condition 1] 865 rst (405 (g)
480 Consumer Credit \ roperty Damage a .
152 Recovery of er Employers’ |] 385 Property D. 560 Civil Detainee 3
[1] 490 Cable/Sat TV [] Defaulted Student |L] Liability Product Liability [7] Conditions of FEDERAL TAX SUITS
Loan (Excl. Vet.) BANKRUPTCY Confinement ae
i 870 Taxes (U.S. Plaintiff or
850 Securities/Com- 153 Recovery of L] 340 Marine 422 Appeal 28 FORFEITURE/PENALTY _|[_] Defendant)
O modities/Exchange very’ 345 Marine Product |L] sc 158 i
[_] Overpayment of TC Liability 625 Drug Related oO 871 IRS-Third Party 26 USC
oO g90 Other Statutory Vet. Benefits 1350 Motor Vehic ql 423 Withdrawal 28 O peizure of Property 21 7609
ctions ' jotor Vehicle USC 157
160 Stockholders
891 Agricultural Act: O Suits 355 Motor Vehicle CIVIL RIGHTS TC 690 Other
O 993 E ie ' ° C1 Product Liability ——— —
gO 893 Environmenta x] 190 Other q 360 Other Personal [_] 440 Other Civil Rights Sb SE
Inju 441 Voti
895 Freedom of Info. ny vine O oung O Act
OC net Og 195 Contract Oo 362 Personal Injury
¢ Product Liability Med Malpratice O ag Eepioyment oO 720 Labor/Mgmt.
L] 896 Arbitration 196 Franchise 365 Personal Injury- ousing/ elations
oi BREE C1 Product Liability C1 Accommodations [J 740 Railway Labor Act
899 Admin. Procedures 367 Health Care/ 445 American with . .
[_] Act/Review of Appeal of [] 210 Land Oo Pharmaceutical L] Disabilities- TC 751 Family and Medical
Agency Decision Condemnation Personal Injury Employment
[1] 220 Foreclosure Product Liability O 446 American with =|] 790 Other Labor
tutional} b Disabilities-Other Litigation
950 Constitutionality of 368 Asbestos
CO State Statutes y Oo 230 Rent Lease& |[] Personal injury [1] 448 Education oO 791 Employee Ret. Inc.
Ejectment Product Liability Security Act
FOR OFFICE USE ONLY: Case Number: 2:19-ev-1217
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CIVIL COVER SHEET

VIII, VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTION A: Was this case removed
from state court?
[x] No

L] Yes

If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

STATE CASE WAS PENDING IN THE COUNTY OF;

INITIAL DIVISION IN CACD IS:

 

 

 

[_] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[_] Orange Southern
[_] Riverside or San Bernardino Eastern

 

 

 

QUESTION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

[] Yes [x] No

If "no," skip to Question C. If "yes," answer
Question B.1, at right.

B.1, Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

—

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern” in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

[] Yes [x] No

If "no," skip to Question D. If "yes," answer
Question C.1, at right.

C.1, Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern” in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.

 

 

[-] Enter "Western" in response to Question E, below, and continue
from there.

A. B. c.
, — Riverside or San Los Angeles, Ventura,
. ? i i
QUESTION D: Location of plaintiffs and defendants? CrereaGonniy Berar een Roonaan san
Luis Obispo County

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district Cl Cl]

reside. (Check up to two boxes, or leave blank if none of these choices apply.)

 

Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

apply.)

 

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D.1. Is there at least one answer in Column A?

[_] Yes

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter "Southern" in response to Question E, below, and continue from there.

If "no," go to question D2 to the right.

[X] No

—

D.2. Is there at least one answer in Column B?

[_] Yes No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

 

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

 

Enter the initial division determined by Question A, B,C, or D above: ma

 

WESTERN

 

QUESTION F: Northern Counties?

 

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

[_] Yes No

 

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CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [_] YES

If yes, list case number(s):

 

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

NO [1] Yes

 

Civil cases are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

[ ] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

[ ] A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SIGNATURE OF ATTORNEY

(OR SELF-REPRESENTED LITIGANT): /S/ Scott J. Ferrell DATE: February 19, 2019

 

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

HIA

BL

DIWC

DIWW

SSID

RSI

Abbreviation

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

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